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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ANGELO LOPES

Case No.:
Plaintiff, 20-CV-00314
-against-

JLM DECORATING NYC INC., COSMOPOLITAN DECLARATION OF MOSHE

INTERIOR NY CORPORATION, JLM GOLD IN SUPPORT OF
DECORATING, INC., CITY VIEW BLINDS OF N.Y. MOTION FOR SUMMARY
INC., MOSHE GOLD, JOEL GOLD a/k/a SAM JUDGMENT

GOLD a/k/a SHIMMY GOLD, and MARITZA
RODRIGUEZ a/k/a MARITZA SIME

Defendants.

 

STATE OF NEW YORK _ )
) ss.:
COUNTY OF NEW YORK. )
I, MOSHE GOLD, declare under penalty of perjury that the foregoing is true and

correct.

1. Iam the owner and President of the corporate entities named as Defendants in the instant

litigation. I am also named personally as a Defendant.

2. Plaintiff Angelo Lopes was employed by the corporate Defendants from September 2015

until his termination in June 2019.

3. I drafted the written warning letter for unsatisfactory job performance dated May 28, 2019

and issued it to Angelo Lopes. This letter was necessary due to the unsatisfactory job performance

for the reasons identified therein.

4. Plaintiff's job performance did not improve in any way after he received the warning letter.

His job deficiencies continued unchanged and he engaged in gross insubordination after he

received the letter.
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5. Asa result of Plaintiff's outright refusal to attempt to improve his job performance in the
ways he was instructed in the warning letter, I informed Plaintiff he was terminated on or about
June 14, 2019. Shortly thereafter I drafted and sent Plaintiff a termination letter, dated June 20,
2019, explaining the reason for his termination.

6. At no point during his employment did Plaintiff raise complaints regarding alleged
violations of the NYLL for failure to provide wage statements with the issuance of wages.

7. Iwas never informed by any other individual that Plaintiff had complained to them about

alleged violations of the NYLL nor any other law.
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Dated: April 30, 2021

New York, NY LEP

Moshe Gold

 
